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                                                                          4                             UNITED STATES DISTRICT COURT
                                                                          5                                   Northern District of California
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                                                                          7   In re APPLICATION FOR APPOINTMENT                       No. C 11-80136 RS (MEJ)
                                                                              OF A COMMISSIONER RE REQUEST FOR
                                                                          8   JUDICIAL ASSISTANCE FOR THE                             ORDER GRANTING PETITIONER
                                                                              ISSUANCE OF SUBPOENA PURSUANT TO                        YAMAHA MOTOR ESPAÑA, S.A.'S
                                                                          9   28 U.S.C. § 1782,                                       REQUEST FOR THE ISSUANCE OF A
                                                                                                                                      SUBPOENA
                                                                         10   ______________________________________
                                                                                                                                      (Docket No. 1)
                                                                         11
                                                                              YAMAHA MOTOR ESPAÑA, S.A.,
                                                                         12
UNITED STATES DISTRICT COURT




                                                                                                Petitioner.
                               For the Northern District of California




                                                                         13   _____________________________________/
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                                                                         15                                         I.    INTRODUCTION
                                                                         16         Currently pending before the Court is Yamaha Motor España, S.A.’s (“Yamaha”) ex parte
                                                                         17 application for the issuance of a subpoena pursuant to 28 U.S.C. § 1782. Dkt. No. 1. Yamaha seeks
                                                                         18 the issuance of a subpoena to WordPress.com, which is purported to maintain a business in this
                                                                         19 District, and Automattic, Inc., which is purportedly registered to do business in California. The
                                                                         20 proposed subpoena reflects that Yamaha seeks the production of documents in WordPress.com and/or
                                                                         21 Automattic’s possession, custody, or control that it contends are highly relevant to two cases pending
                                                                         22 in the Kingdom of Spain. Having considered Yamaha’s papers and accompanying submissions, the
                                                                         23 Court hereby GRANTS the application.
                                                                         24                                         II.   BACKGROUND
                                                                         25         Yamaha requests that the Court allow it to serve subpoenas on WordPress.com and
                                                                         26 Automattic to identify the individual(s) who authored an anonymous blog on WordPress.com’s blog-
                                                                         27 hosting service, commenting on a labor dispute involving Yamaha. The blog contains statements that
                                                                         28 are highly relevant to two cases pending in Spain regarding this dispute.
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                                                                          1 A.       The Spanish Labor Proceedings
                                                                          2          The two proceedings pending in the Spanish court, Juzgado Social 2 Sabadell, located in
                                                                          3 Barcelona, are the following: (1) Case No. 249/2011 against Yamaha by the Commisió Obrerara
                                                                          4 Nacional de Catalunya (the “union”) and 18 of its union members employed by Yamaha, and (2)
                                                                          5 Case No. 187/2011 against the union by Yamaha (the “Spanish Labor Proceedings”). See
                                                                          6 Complaints, Exs. A and B to Req. for Judicial Not. in Supp. of Appl. (“RJN”), Dkt. No. 2. These
                                                                          7 cases arise out of a labor dispute surrounding Yamaha’s planned closing of a plant outside of
                                                                          8 Barcelona and the response by the union and its members. Appl. 1, Dkt. No. 1.
                                                                          9          Yamaha is a company organized under the laws of the Kingdom of Spain, with its principal
                                                                         10 place of business in Barcelona, that produces and sells motorcycles. Id. In late 2010, Yamaha began
                                                                         11 a reduction in force for its plant outside of Barcelona which, under Spanish labor law, requires a
                                                                         12 regulatory filing and administrative supervision of the ensuing labor negotiations. Id. Following this
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                                                                         13 public filing and news of the plant’s closing, labor groups began organizing to protest. Id. Those
                                                                         14 protests included picketing at the plant and at the sites of various Yamaha stakeholders, and other
                                                                         15 tactics designed to influence the negotiations. Id. at 1-2.
                                                                         16          Yamaha states that the reduction in force continues to be negotiated by it and the labor union,
                                                                         17 under the supervision of the relevant Spanish authorities. Id. at 2. Yamaha also states that labor
                                                                         18 demonstrations and protests have continued in various forms throughout the pendency of this process
                                                                         19 and, while some demonstrations constitute valid self-expression and public discourse, the labor
                                                                         20 organizers often test and overstep these boundaries. In the case of the anonymous blog at issue here,
                                                                         21 Yamaha contends that the labor organizers overstepped these boundaries. Id.
                                                                         22          Yamaha states that this labor organizing is the subject of its suit against the union. In its
                                                                         23 complaint, Yamaha alleges that the union ordered an illegal strike by instructing workers to reduce
                                                                         24 their productivity, rather than declare an outright strike under Spanish labor laws with the appropriate
                                                                         25 requirements of that procedure. Id. Yamaha is requesting an injunction ordering the workers to
                                                                         26 immediately cease the slowdown and resume normal operations and an order awarding Yamaha
                                                                         27 1.253 million Euros in damages caused by the illegal strike. Id. The union has answered the
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                                                                          1 complaint, denying that it has ordered any such slowdown. Id. The trial in this case is scheduled for
                                                                          2 September 15, 2011. The union’s suit alleges that Yamaha violated its rights to organize by
                                                                          3 negotiating unfairly and creating undue pressure in the negotiations surrounding the plant closing. Id.
                                                                          4 The union also alleges that Yamaha illegally accessed employee e-mails without their permission,
                                                                          5 thereby violating their privacy rights. Id. Yamaha has denied these claims. Id.
                                                                          6 B.      The Anonymous Blog
                                                                          7         According to Yamaha, the anonymous blog author publishes under the pseudonym
                                                                          8 “”nocierre”” on a blog with web address www.january26th.wordpress.com (the “blog”), which is
                                                                          9 linked to an anonymous e-mail account with hushmail.com. Id. The blog is hosted on
                                                                         10 WordPress.com, a blog publishing service that provides web space and templates to its users free of
                                                                         11 charge. Id. Users complete an enrollment form with an e-mail address, choose a domain name for
                                                                         12 their blog, accept WordPress.com’s terms and conditions, and are then able to publish content to the
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                                                                         13 Internet via WordPress.com’s servers. Id. at 2-3. Automattic, Inc. is WordPress.com’s parent
                                                                         14 company. Id. at 3.
                                                                         15         The blog started publishing about Yamaha closing the plant in early 2011. Id. It states that it
                                                                         16 chose the january26th title because it matches the date when Yamaha announced the plant closing.
                                                                         17 Id. The posts directed at Yamaha are dated February 16, 22, 25 and 28, 2011; March 7, 11, 27, 2011;
                                                                         18 and as recently as May 22, 2011. Id.; RJN, Ex. F. The postings show the precise time when they
                                                                         19 were uploaded to WordPress.com and are all attributed to the author “nocierre”. Appl. 3.
                                                                         20         Yamaha alleges that these postings have injured and continue to cause injury to it in the
                                                                         21 Spanish Proceedings by publishing false and misleading information about the plant closing,
                                                                         22 Yamaha’s directors, and its outside advisors. Id. Yamaha further alleges that several of the posts
                                                                         23 refer to an illegal work slowdown under Spanish labor law that forms the basis of one of the claims
                                                                         24 Yamaha alleges in the Spanish Labor Proceedings, and indicate that the slowdown was deliberate. Id.
                                                                         25 The union has to date denied ordering such slowdowns. Id. Yamaha argues that the content and
                                                                         26 authorship of the blog posts can be introduced into evidence to rebut the union’s statements denying
                                                                         27 the work slowdowns, thus supporting Yamaha’s case in the Spanish Labor Proceedings.
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                                                                          1         Yamaha states that its counsel submitted an online request to WordPress.com via its online
                                                                          2 complaint form on March 11, 2011. Id. at 3-4. Yamaha requested the identity of “nocierre” and
                                                                          3 asked that the blog be taken down because it contained defamatory content in violation of Spanish
                                                                          4 law. Id. at 4. WordPress.com refused, citing its internal policy on these types of requests in the
                                                                          5 absence of a court order. Masdevall Decl. Ex. A, Dkt. No. 3.
                                                                          6                                          III.   DISCUSSION
                                                                          7         In its application, Yamaha argues that it has no available recourse for identifying the person
                                                                          8 or persons that made the blog remarks without obtaining the IP address from WordPress.com.
                                                                          9 Yamaha therefore seeks to serve third-party subpoenas upon WordPress.com and its parent company
                                                                         10 Automattic for the IP address(es) used to make the postings identified above, as well as any other
                                                                         11 personally identifying details, such as name, e-mail addresses, physical addresses, age, etc., which
                                                                         12 could be used to identify “nocierre”.
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                                                                         13 A.      Legal Standard
                                                                         14         Pursuant to 28 U.S.C. § 1782,
                                                                         15                 [t]he district court of the district in which a person resides or is found
                                                                                            may order him to give his testimony or statement or to produce a
                                                                         16                 document or other thing for use in a proceeding in a foreign or
                                                                                            international tribunal, including criminal investigations conducted
                                                                         17                 before formal accusation. The order may be made . . . upon the
                                                                                            application of any interested person and may direct that the testimony
                                                                         18                 or statement be given, or the document or other thing be produced,
                                                                                            before a person appointed by the court. By virtue of his appointment,
                                                                         19                 the person appointed has power to administer any necessary oath and
                                                                                            take the testimony or statement. The order may prescribe the practice
                                                                         20                 and procedure, which may be in whole or part the practice and
                                                                                            procedure of the foreign country or the international tribunal, for taking
                                                                         21                 the testimony or statement or producing the document or other thing.
                                                                                            To the extent that the order does not prescribe otherwise, the testimony
                                                                         22                 or statement shall be taken, and the document or other thing produced,
                                                                                            in accordance with the Federal Rules of Civil Procedure.
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                                                                         24 28 U.S.C. § 1782(a). As reflected by the language of § 1782, its purpose is to provide federal court
                                                                         25 assistance in the gathering of evidence for use in a foreign tribunal. See Intel Corp. v. Advanced
                                                                         26 Micro Devices, Inc., 542 U.S. 241, 247 (2004); see also Schmitz v. Bernstein Liebhard & Lifshitz,
                                                                         27 LLP, 376 F.3d 79, 84 (2d Cir. 2004) (noting that § 1782 has “twin aims,” i.e., “providing efficient
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                                                                          1 means of assistance to participants in international litigation in our federal courts and encouraging
                                                                          2 foreign countries by example to provide similar means of assistance to our courts”) (internal
                                                                          3 quotation marks omitted).
                                                                          4          A district court is authorized to grant a § 1782 application
                                                                          5                 where (1) the person from whom the discovery is sought resides or is
                                                                                            found in the district of the district court to which the application is
                                                                          6                 made, (2) the discovery is for use in a proceeding before a foreign
                                                                                            tribunal, and (3) the application is made by a foreign or internal tribunal
                                                                          7                 or “any interested person.”[1]
                                                                          8 In re Chevron Corp., 2010 U.S. Dist. LEXIS 47034, at *15.
                                                                          9          However, simply because a court has the authority under § 1782 to grant an application does
                                                                         10 not mean that it is required to do so. See Intel, 542 U.S. at 264. The Supreme Court has identified
                                                                         11 several factors that a court should take into consideration in ruling on a § 1782 request:
                                                                         12                 (1) whether the material sought is within the foreign tribunal’s
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                                                                                            jurisdictional reach and thus accessible absent Section 1782 aid; (2) the
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                                                                         13                 nature of the foreign tribunal, the character of the proceedings
                                                                                            underway abroad, and the receptivity of the foreign government or the
                                                                         14                 court or agency abroad to U.S. federal-court jurisdictional assistance;
                                                                                            (3) whether the Section 1782 request conceals an attempt to circumvent
                                                                         15                 foreign proof-gathering restrictions or other policies of a foreign
                                                                                            country or the United States; and (4) whether the subpoena contains
                                                                         16                 unduly intrusive or burdensome requests.
                                                                         17 Chevron, 2010 U.S. Dist. LEXIS 47034, at *16; see also Intel, 542 U.S. at 264-65.
                                                                         18 B.       Authority to Issue Subpoena
                                                                         19          Here, the Court has reviewed Yamaha’s application and has preliminarily determined that the
                                                                         20 statutory requirements have been satisfied. First, Yamaha has made a prima facie showing that
                                                                         21 WordPress.com and Automattic reside in this District. See RJN Exs. C-E. Second, the discovery is
                                                                         22 for use in the Spanish Labor Proceedings before the Spanish court. See In re Letters of Request to
                                                                         23 Examine Witnesses, 59 F.R.D. 625, 629 (N.D. Cal. 1973) (“the crucial requirement is that the foreign
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                                                                                       The Supreme Court has held that § 1782 does not contain a “foreign-discoverability
                                                                         26   requirement” – i.e., there is no requirement that the information sought be discoverable under the
                                                                              law governing the foreign proceeding. Intel, 542 U.S. at 253. The Court has further held that there
                                                                         27   is no requirement that a § 1782 applicant show “United States law would allow discovery in
                                                                              domestic litigation analogous to the foreign proceeding.” Id. at 263.
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                                                                          1 body exercise adjudicative power and have an adjudicative purpose”). Finally, there can be no real
                                                                          2 dispute that Yamaha qualifies as an interested person because it is a party in both Spanish Labor
                                                                          3 Proceedings. See Intel, 542 U.S. at 256 (stating that an interested person under § 1782 “plainly
                                                                          4 reaches beyond the universe of persons designated ‘litigant,’” although there is “[n]o doubt [that]
                                                                          5 litigants are included among, and may be the most common example”).
                                                                          6 C.       Discretionary Factors
                                                                          7          Having concluded that it has the authority to issue the subpoena, the Court now turns to the
                                                                          8 question of whether the discretionary factors identified by the Supreme Court weigh in favor of or
                                                                          9 against issuance of the subpoena. The Court makes the preliminary determination that these factors
                                                                         10 largely weigh in favor of issuance of the subpoena.
                                                                         11          1.      Jurisdictional Reach of Foreign Tribunal
                                                                         12          The Supreme Court has noted that,
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                                                                         13                  when the person from whom discovery is sought is a participant in the
                                                                                             foreign proceeding . . . , the need for § 1782(a) aid generally is not as
                                                                         14                  apparent as it ordinarily is when evidence is sought from a
                                                                                             nonparticipant in the matter arising abroad. A foreign tribunal has
                                                                         15                  jurisdiction over those appearing before it, and can itself order them to
                                                                                             produce evidence. In contrast, nonparticipants in the foreign
                                                                         16                  proceeding may be outside the foreign tribunal’s jurisdictional reach;
                                                                                             hence, their evidence, available in the United States, may be
                                                                         17                  unobtainable absent § 1782(a) aid.
                                                                         18 Id. at 264. In the instant case, WordPress.com and Automattic are not parties in the Spanish Labor
                                                                         19 Proceedings, and therefore this factor weighs in Yamaha’s favor. See In re Chevron Corp., 2010 U.S.
                                                                         20 Dist. LEXIS 47034, at *20 (noting that Ecuadorian court and international arbitral tribunal lacked
                                                                         21 jurisdiction to compel the individual, who was located in the district and not a party to the foreign
                                                                         22 proceedings, to produce the material sought).
                                                                         23          2.      Nature and Receptivitiy of Foreign Tribunal
                                                                         24          There is no evidence before the Court that the international arbitral tribunal (the Spanish
                                                                         25 court) at issue here is either receptive or nonreceptive to U.S. federal court jurisdictional assistance,
                                                                         26 and therefore this factor is essentially neutral. However, the Court takes note that even opposition by
                                                                         27 the international arbitral tribunal would not necessarily be determinative. See id. at *21 & n.51
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                                                                          1 (pointing out that, in Intel, the European Commission stated that it did not need or want the U.S.-
                                                                          2 federal court assistance).
                                                                          3         3.      Attempt to Circumvent Foreign Proof-Gathering Restrictions and Policies
                                                                          4         There is nothing to suggest that Yamaha’s § 1782 request is an attempt to circumvent foreign
                                                                          5 proof-gathering restrictions. Indeed, it does not appear that the international arbitral tribunal at issue
                                                                          6 here could compel WordPress.com and Automattic to provide evidence because they are not parties
                                                                          7 to the Spanish Labor Proceedings. See id. at *22 (applying same reasoning). Further, as stated
                                                                          8 above, Yamaha’s counsel attempted to obtain the information informally by submitting an online
                                                                          9 request to WordPress.com via its online complaint form on March 11, 2011. Appl. 3-4. Yamaha
                                                                         10 requested the identity of “nocierre” and asked that the blog be taken down because it contained
                                                                         11 defamatory content in violation of Spanish law. Id. at 4. WordPress.com refused, citing its internal
                                                                         12 policy on these types of requests in the absence of a court order. Masdevall Decl. Ex. A.
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                                                                         13 Accordingly, this factor weighs in Yamaha’s favor.
                                                                         14         4.      Undue Intrusion or Burden
                                                                         15         Finally, the Court must determine whether the discovery requested is an undue burden or
                                                                         16 being sought for an improper purpose. In assessing this issue, courts are guided by the applicable
                                                                         17 standards found in the Federal Rules of Civil Procedure. See 28 U.S.C. § 1782 (providing that, “[t]o
                                                                         18 the extent that the order does not prescribe otherwise, the testimony or statement shall be taken, and
                                                                         19 the document or other thing produced, in accordance with the Federal Rules of Civil Procedure).
                                                                         20         In its papers, Yamaha explains that it wishes to subpoena WordPress.com and Automattic
                                                                         21 because it seeks the identity of “nocierre” to support its allegation in the Spanish Labor Proceedings
                                                                         22 that the union has committed illegal labor practices, including ordering a work slowdown and
                                                                         23 defaming Yamaha and its officers, directors and advisors. App. 5. Yamaha contends that the identity
                                                                         24 of “nocierre” is relevant to these claims in that the referenced work slowdowns are illegal if ordered
                                                                         25 and orchestrated by the labor group. Id. Based on its review of Yamaha’s application, the Court
                                                                         26 finds no improper purpose behind it. The information requested is relevant to Yamaha’s allegations,
                                                                         27 and the identity of “nocierre” is otherwise unattainable, given that the relevant posts were made
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                                                                          1 through WordPress.com’s servers in this district. See London v. Does, 279 Fed. Appx. 513, 515 (9th
                                                                          2 Cir. 2008) (upholding denial of motion to quash where evidence was otherwise unattainable in
                                                                          3 French proceedings); see also Intel Corp., 542 U.S. at 264 (noting that evidence from nonparties to
                                                                          4 foreign proceeding would likely be unobtainable absent § 1782). Further, the request is not unduly
                                                                          5 intrusive or burdensome because it seeks to gather only identifying information for the accounts, such
                                                                          6 as the names and addresses of the users, and not the content of any communication. London, 279
                                                                          7 Fed. Appx. at 515. Thus, given the need for the evidence, and the minimal invasion required, the
                                                                          8 Court finds that these factors weigh in favor of granting Yamaha’s request.
                                                                          9 D.       The Cable Privacy Act
                                                                         10          In its application, Yamaha requests that the Court’s order state clearly that the Court
                                                                         11 considered the Cable Privacy Act, 47 U.S.C. § 551, and that the order specifically complies with the
                                                                         12 Act’s requirements. App. 9. The Cable Privacy Act prohibits cable operators from disclosing
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                                                                         13 personally identifiable information regarding subscribers without either (1) the prior written or
                                                                         14 electronic consent of the subscriber; or (2) a court order, provided the cable operator provides the
                                                                         15 subscriber with notice of the disclosure. 47 U.S.C. § 551(c)(1), (c)(2)(B). A cable operator is
                                                                         16 defined as “any person or group of persons (A) who provides cable service over a cable system and
                                                                         17 directly or through one or more affiliates owns a significant interest in such cable system, or (B) who
                                                                         18 otherwise controls or is responsible for, through any arrangement, the management and operation of
                                                                         19 such a cable system.” 47 U.S.C. § 522(5). Under the Cable Privacy Act, cable operators are
                                                                         20 prohibited from disclosing personal information that could identify subscribers without obtaining
                                                                         21 their prior written or electronic consent, and operators are required to take actions to prevent
                                                                         22 unauthorized access to such information. Id. § 551(c).
                                                                         23          Here, although Yamaha seeks the information from WordPress.com and Automattic as
                                                                         24 Internet service providers, Yamaha states that they are also cable operators, and therefore compliance
                                                                         25 with the Cable Privacy Act is requested. As stated above, discovery under § 1782 is guided by the
                                                                         26 applicable standards found in the Federal Rules of Civil Procedure. See 28 U.S.C. § 1782 (providing
                                                                         27 that, “[t]o the extent that the order does not prescribe otherwise, the testimony or statement shall be
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                                                                          1 taken, and the document or other thing produced, in accordance with the Federal Rules of Civil
                                                                          2 Procedure).
                                                                          3          A court may authorize early discovery for the parties’ and witnesses’ convenience and in the
                                                                          4 interests of justice. Fed. R. Civ. P. 26(d). Courts in this district generally consider whether a plaintiff
                                                                          5 has shown “good cause” for the early discovery. See, e.g., IO Group, Inc. v. Does 1-65, 2010 WL
                                                                          6 4055667, at *2 (N.D. Cal. 2010); Solarbridge Tech. v. John Doe, 2010 WL 3419189 (N.D. Cal.
                                                                          7 2010); Semitool, Inc. v. Tokyo Electron America, Inc., 208 F.R.D. 273, 275-77 (N.D. Cal. 2002).
                                                                          8 When the identity of a party is not known, an applicant “should be given an opportunity through
                                                                          9 discovery to identify the unknown defendants, unless it is clear that discovery would not uncover the
                                                                         10 identities, or that the complaint would be dismissed on other grounds.” Solarbridge, 2010 WL
                                                                         11 3419189, at *1 (quoting Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980)). In evaluating
                                                                         12 whether an applicant establishes good cause to learn the identity of an unknown party through early
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                                                                         13 discovery, courts examine whether the applicant (1) identifies the party with sufficient specificity that
                                                                         14 the court can determine that the party is a real person who can be sued in federal court, (2) recounts
                                                                         15 the steps taken to locate and identify the defendant, (3) demonstrates that the action can withstand a
                                                                         16 motion to dismiss, and (4) proves that the discovery is likely to lead to identifying information that
                                                                         17 will permit service of process. Columbia Ins. Co. v. Seescandy.com, 185 F.R.D. 573, 578-80 (N.D.
                                                                         18 Cal. 1999).
                                                                         19          Here, the Court finds that Yamaha has satisfied these elements. As discussed above, (1) the
                                                                         20 blog author(s) is/are a real person(s) who may be sued in Spain; (2) Yamaha has unsuccessfully
                                                                         21 attempted to identify “nocierre” prior to filing this application; (3) Yamaha’s claims and defenses are
                                                                         22 pending in the Spanish Labor Proceedings and therefore appear to present at least a prima facie case;
                                                                         23 and (4) there is a reasonable likelihood that service of the proposed subpoenas will lead to
                                                                         24 information identifying “nocierre”. See Masdevall Decl. ¶ 4; RJN Exs. A, B. Thus, the Court finds
                                                                         25 that good cause exists to allow Yamaha to engage in the proposed discovery.
                                                                         26          That being said, the Court’s ruling here does not preclude the subpoena from being contested
                                                                         27 on other grounds that are not presently before the Court, and any such discovery is conditioned on
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                                                                          1 WordPress.com and Automattic having 7 calendar days after service of the subpoenas to notify the
                                                                          2 subscriber that their identity is sought by Yamaha, and each subscriber whose identity is sought
                                                                          3 having 21 calendar days from the date of such notice to file any papers contesting the subpoenas.
                                                                          4                                         IV.    CONCLUSION
                                                                          5         For the foregoing reasons, the Court GRANTS Yamaha’s application. Yamaha may serve the
                                                                          6 subpoena (filed as Docket No. 5, Attachment 1) with the following conditions:
                                                                          7 1)      Yamaha may only use the information disclosed for the sole purpose of protecting its rights in
                                                                          8         the Spanish Labor Proceedings and may not release any identifying information without a
                                                                          9         court order allowing the release of the information;
                                                                         10 2)      Within 7 calendar days after service of the subpoenas, WordPress.com and Automattic shall
                                                                         11         notify the subscribers that their identities are sought by Yamaha and shall serve a copy of this
                                                                         12         order on each subscriber. Each subscriber whose identify is sought may, within 21 calendar
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                                                                         13         days from the date of such notice, file documents with the Court that contest the subpoena;
                                                                         14 3)      If WordPress.com or Automattic wishes to move to quash the subpoena issued to it, they shall
                                                                         15         do so before the return date of the subpoena. If such a motion is brought, WordPress.com
                                                                         16         and/or Automattic shall preserve the information sought by Yamaha in the subpoena pending
                                                                         17         resolution of such motion.
                                                                         18 4)      Yamaha shall reimburse WordPress.com and/or Automattic for all mailing fees.
                                                                         19         IT IS SO ORDERED.
                                                                         20
                                                                         21 Dated: July 13, 2011
                                                                                                                                           _______________________________
                                                                         22                                                                Maria-Elena James
                                                                                                                                           Chief United States Magistrate Judge
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